                                  Case 4:21-cv-00471-JM Document 1-1 Filed 06/01/21 Page 1 of 1
JS44 (Rev.10/20)                                                               CIVIL COVER SHEET                                          1'2/ -c:::v- ~7J .- J'4
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required l:iy law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (S/:"E INSTRUC71ONS ON NEXT PAGI:" OF 7HIS FOIIM.)
I. (a) PLAINTIFFS                                                                                                 DEFENDANTS

          Darel Adelsberger and Annette Adelsberger                                                               Union Pacific Railroad Company

    (b) County of Residence of First Listed Plaintiff                Pulaski County, Arkarv,                      County of Residence of First Listed Defendant                  Incorporated Delawaren
                                  (l;XC/:'l'T IN U.S. l'I.AIN77FF CASl:'.\J                                                               (IN U.S. l'I.AIN77FF CASl:'S ON/,Y)
                                                                                                                  NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.

   (C) Attorneys (Firm Name, Ac/dress, and Telephone Numher)                                                       Attorneys afKnown)
       Robert Edwin Hodge #2011097                                                                            Scott Tucker #87176
       Hodge, Calhoun Giattina, PLLC                                                                          Jamie Huffman Jones #2003125
       711 W. 3rd Street                                                                                D     Fridav Eldredae & Clark                                                                                    D
II. BASIS OF JURISDICTION (Place 011 "X" in one Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (l'lacea11                                     ")(" inOneHoxforl'laim/fJ
                                                                                                              (For /Jiver.,ity C:a.,e., Only)                                    and One Boxji,r Deji!11dant)
0   I   U.S. Government                03      Federal Question                                                                             PTF           DEF                                         PTF       DEF
           Plaintiff                             (U.S. (io,·ernmem Not a Party)                          Citizen of This State             00 I       O         Incorporated or Principal Place       O     4   0    4
                                                                                                                                                                  of Business In This State

0   2   U.S. Government                004     Diversity                                                 Citizen of Another State          02         0     2   Incorporated and Principal Place      0         00 5
           Defendant                             (Indicate Citizemhip qf l'artie.,· in Item Ill)                                                                  of Business In Another State

                                                                                                         Citizen or Subject of a           03         0     3   Foreign Nation                        0     6   06
                                                                                                           Foreign Country
IV. NATURE OF SUIT (Placea11 "X" i11O11e HoxOnl ~                                                                                               Click here for: Nature of Suit Code Descri tions.
           CONTRACT                                                  TORTS                                 FORFEITURE/PENALTY                             BANKRUPTCY                     OTHER STATUTES


~
    110 Insurance                         PERSONAL INJURY                     PERSONAL INJURY               625 Drug Related Seizure                 422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                            3 IO Airplane                0    365 Personal Injury -               of Property 21 USC 881               423 Withdrawal                    376 Qui Tam (31 USC
    I 30 Miller Act                       315 Airplane Product                   Product Liability          690 Other                                    28 USC 157                         3729(a))
    140 Negotiable Instrument                   Liability              0    367 Health Care/                                                                                           400 State Reapportionment
0   150 Recovery of Overpayment           320 Assault, Libel &                  Pharmaceutical                                                                          HT             410 Antitrust
         & Enforcement of Judgment              Slander                         Personal Injury                                                                                        430 Banks and Banking
0   151 Medicare Act                      330 Federal Employers'                Product Liability                                                                                      450 Commerce
0   152 Recovery of Defaulted                   Liability              0    368 Asbestos Personal                                                    835 Patent • Abbreviated          460 Deportation
         Student Loans                    340 Marine                             Injury Product                                                          New Drug Application          4 70 Racketeer Influenced and
         (Excludes Veterans)              345 Marine Product                     Liability                                                      0    840 Tradem ark                         Corrupt Organizations
0   153 Recovery ofOverpaymcnt
         of Veteran's Benefits
                                                Liability
                                          350 Motor Vehicle            0
                                                                           PERSONALPROPERTY
                                                                            370 Oilier Fraud
                                                                                                        ....,,---=:=.::...---
                                                                                                                    LABOR
                                                                                                           710 Fair Labor Standards
                                                                                                                                    0                880 Defend Trade Secrets
                                                                                                                                                         Actof2016
                                                                                                                                                                                       480 Consumer Credit
                                                                                                                                                                                            (15 USC 1681 or 1692)
0   160 Stockholders' Suits               355 Motor Vehicle            0    371 Truth in Lending                Act                                                                    485 Telephone Consumer
0   190 Other Contract                         Product Liability       0    380 Other Personal              720 Labor/Management                      SOCIAL SECURITY                       Protection Act




                                                                                                                                                ~
0   195 Contract Product Liability        360 Other Personal                    Property Damage                 Relations                            861   HIA ( 1395ft)               490 Cable/Sat TV
0   196 Franchise                              Injury                  0    385 Property Damage             740 Railway Labor Act                    862   Black Lung (923)            850 Securities/Commodities/
                                          362 Personal Injury -                 Product Liability           751 Family and Medical                   863   DIWC/DIWW (405(g))               Exchange
                                               Medical Malpractice                                              Leave Act                            864   SSID Title XVI              890 Other Statutory Actions
        REAL PROPERTY                       Cl ILRIGHTS                    PRISONER PETITIONS               790 Other Labor Litigation           0   865   RSI (405(g))                891 Agricultural Acts
    2 IO Land Condemnation                440 Other Civil Rights            Habeas Corpus:                  791 Employee Retirement                                                    893 Environmental Matters
0   220 Foreclosure                       441 Voting                        463 Alien Detainee                  Income Security Act                  F                                 895 Freedom of Information

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    230 Rent Lease & Ejecnnent            442 Employment                    510 Motions to Vacate                                                0   870 Taxes (U.S. Plaintiff               Act
    240 Torts to Land                     443 Housing/                          Sentence                                                                 or Defendant)                 896 Arbitration
    245 Tort Product Liability                Accommodations                530 General                                                          0   871 IRS-Third Party               899 Administrative Procedure
0   290 All Other Real Property           445 Amer. w/Disabilities •        535 Death Penalty                    IMMIGRATION                              26 USC 7609                       Act/Review or Appeal of
                                              Employment                    Other:                          462 Naturalization Application                                                  Agency Decision
                                          446 Amer. w/Disabilities -        540 Mandamus & Other            465 Other Immigration                                                      950 Constitutionality of
                                              Other                         550 Civil Rights                    Actions                                                                     State Statutes
                                          448 Education                     555 Prison Condition
                                                                            560 Civil Detainee •
                                                                                Conditions of
                                                                                Confinement
V. ORIG IN         (l'lace an ")(" in One Box Only}
0   I Original            00 2 Removed from                03          Remanded from               0   4 Reinstated or      0      5 Transferred from           0   6 Multidistrict          0     8 Multidistrict
      Proceeding               State Court                             Appellate Court                   Reopened                    Another District                 Litigation -                   Litigation -
                                                                                                                                     (specify)                        Transfer                       Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do 111Jtcitej11ri,dictio11al.•t11t11tcs 1111le.•.• diversity):
                                           t---,.....,....,.-------------------------------------
                                           28USC1332
VI. CAUSE OF ACTION Brief description of cause:
                                           Plif alleges that Defendant's track altered the natural flow of surface water so that drainage of Pff's land and business was damaged by flooding.

VII. REQUESTED IN                          0     CHECK IF THIS IS A CLASS ACTION                            DEMAND$                                         CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                                   JURY DEMAND:         00Yes O No
VIII. RELATED CASE(S)
                                               (See i11slruc1iom1:
      IF ANY




    RECEIPT#                      AMOUNT                                                                                           JUDGE                                MAG.JUDGE
